Case 1:17-cv-10107-WGY Document 74-7 Filed 01/05/18 Page 1 of 3




                        In The Matter Of:
                     Shawn J. Tardy, et al. vs.
                     Martin J. O'Malley, et al.




                            Lucy Allen
                              Vol. 1
                         January 24, 2014



        Gore Brothers Reporting & Videoconferencing
             20 South Charles Street, Suite 901
                   Baltimore, MD 21201
                       410-837-3027
                  www.gorebrothers.com




                    Min-U-Script® with Word Index


                                                                  EXHIBIT
                                                                    35
     Case 1:17-cv-10107-WGY Document 74-7 Filed 01/05/18 Page 2 of 3



                                                                       31

 1   would be the reason -- back up.

 2        I don't know why they've maintained these --

 3   these stories for self-defense.           My guess, my

 4   speculation on why they maintain them is because

 5   they think guns are helpful in self-defense and

 6   they have collected stories where they've seen

 7   that guns have been helpful in self-defense.

 8   BY MR. SWEENEY:

 9        Q.    Do you believe these stories are a

10   representative sample of firearms self-defense?
11        A.    I wouldn't particularly expect them to

12   be -- I would -- I would expect in terms of a

13   bias, it may be that the stories are when the
14   use of a gun has been particularly effective and

15   beneficial in self-defense.

16        Q.    And that would be a selection bias?
17        A.    There could be some selection bias.

18        Q.    All right.      Do you have any reason to

19   believe that these stories are a complete

20   recording of all instances in self-defense use

21   of firearms?
22        A.    I think the NRA is quite focused on

23   this issue of self-defense, and I have not

24   researched -- I should back up.

25              I think they're very interested in this

                  Gore Brothers Reporting & Videoconferencing
                410 837 3027 - Nationwide - www.gorebrothers.com
     Case 1:17-cv-10107-WGY Document 74-7 Filed 01/05/18 Page 3 of 3



                                                                       32

 1   issue and I think they have -- in my experience,

 2   they're quite diligent in finding stories and

 3   finding information that supports the point that

 4   guns can effectively be used in self-defense.

 5   So I would expect that it may be a quite

 6   comprehensive list.

 7        Q.    Have you done any independent research

 8   to verify that expectation?

 9        A.    I haven't particularly done any

10   research to verify that.         I have note -- I note
11   that the number of rounds fired by individuals

12   is not inconsistent with the sort of data that I

13   have seen Kleck and others compile.
14        Q.    In Paragraph 9, you refer to a study of

15   incidents in the NRA stories for a five-year

16   period from '97 to 2001.         Is that what we've
17   marked as Allen Number 3, The Armed Citizen -

18   A Five Year Analysis that you produced today?

19        A.    Yes.

20        Q.    And who prepared that study?

21        A.    Claude Werner.
22        Q.    Who is he?

23        A.    He's a firearms instructor, firearms

24   expert instructor.        I believe he's a former

25   military person.

                  Gore Brothers Reporting & Videoconferencing
                410 837 3027 - Nationwide - www.gorebrothers.com
